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ROCKINGHAM, SS JURY TRIAL DEl\/IANDED
SUPERIOR COURT

Exeter Hospital, Inc.

David Kwiatkowski
l\/Iaxim Healthcare Serviees, Inc.
The Arneriean Registry of Radiological Technologists
American HealthCare Services Association, LLC
Triage Staffing, lnc.

CIVIL COMPLAINT

THE PARTIES

PLAINTIFF:

l. Plaintiff Exeter Hospital, Inc. (hereinafter referred to as “Exeter Hospital”) is a New
Harnpshire corporation, having a principal place of business of 5 Alumni Drive, Exeter,
NH, 03833.

DEFENDANTS:

2. David Kwiatkovvski (hereinafter referred to as “Kwiatkovvski”) is a natural person Who is
domiciled Within the State of New Hampshire, having a residential address of Strafford
County Jail, 259 County Farrn Road, Dover, New Harnpshire 03 820.

3. l\/Iaxim I-Iealthcare Services, Inc. d/b/a Maxirn Staffing Solutions (hereinafter referred to
as “Maxim”) is a Maryland corporation, having a principal place of business located at

722'7 Lee DeForest Drive, Colurnbia, MD 21046. Upon information and belief, it has an

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office at 1750 Elm St., Suite 602, l\/lanchester, NH 03104 and is registered to do business
in NH.
The American Registry of Radiologic Technologists d/b/a ARRT (hereinafter referred to
as “ARRT”) is a l\/linnesota non-profit corporation, having a principal place of business
located at 3588 Juten Drive, Duluth, l\/IN 55803.
Arnerican HealthCare Services Association, LLC (hereinafter referred to as “AHSA”) is a
Michigan limited liability company, having a principal place of business of located at
10126 E. Cherry Bend Road, Traverse City, l\/II 49684.
Triage Staffing, Inc. (hereinafter referred to as “Triage”) is a Nebrasl<a
corporation, having a principal place of business of located at 11133 O Street, Omaha,
NE 68137.

JURISDICTION AND VENUE
The New Hampshire Superior Court has subject matter over this litigation, pursuant to
RSA 491:7 and RSA 507:7-g.
Personal jurisdiction over the resident defendant is obtained through RSA 510:2.
Personal jurisdiction over each of the nonresident defendants is obtained through RSA
51 0 :4.
Exeter Hospital is domiciled Within Rockingham County, and consequently, venue in the

Rockingham County Superior Court is proper, pursuant to RSA 507:9.

ALLEGATIONS COMMON TO ALL COUNTS
This contribution and indemnification action arises out of the Hepatitis-C outbreak that

occurred at Exeter Hospital.

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ln May 2012, Exeter Hospital became aware that three of its former patients had been
diagnosed with Hepatitis~C.

Due to common elements in their clinical histories, Exeter Hospital reported the cases to
the New Hampshire Department of Health and Human Services Division of Public Health
Services (hereinafter referred to as “DPHS”).

Testing performed by the DPHS continued that all three of those cases shared an
identical strain of Hepatitis-C, indicating that the patients had a common source of
infection

The connection among the infected individuals appeared to involve the Exeter Hospital’s
Cardiac Catheterization Lab (hereinafter referred to as “the Cath Lab”).

Subsequently, a Cath Lab technician, defendant Kwiatl<owski, was determined to be
infected with the same Hepatitis-C strain as that found in the three Cath Lab patients, and
as a result, he was identified as being the potential source of the patient infections
Kwiatl<owski was immediately placed on leave and was later terminated

During the investigation, Exeter Hospital and the DPHS attempted to contact all patients
who had received care in the Cath Lab and other designated areas of the hospital, and
recommended that they undergo testing for the Hepatitis-C virus. As result of that effort,
more than 3,000 patients were tested.

Of the patients who underwent testing, a total of thirty-two tested positive for the same
strain of the Hepatitis-C virus associated with Kwiatkowski.

In June 2013, a thirty-third individual reportedly tested positive for Kwiatl<owsl<i’s
Hepatitis C strain which the individual contracted through contact With one of the Exeter

Hospital patients infected by Kwiatkowski.

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Kwiatkowski Was arrested on or about l9 July 2012 and charged With multiple federal
felonies including: (l) acquiring controlled drugs by misrepresentation, fraud, forgery,
deception or subterfuge; and (2) tampering with a consumer product and the container for
such product that affected interstate and foreign commerce with reckless disregard for the
risk that another person will be placed in danger of death or bodily injury and under
circumstances manifesting extreme indifference to such risk, resulting in serious bodily
injury to another individual.

On 28 November 2012, a federal grand jury indicted Kwiatkowski on seven counts each
of fraudulently obtaining controlled drugs, and tampering With a consumer product
According to federal criminal charges filed against him, Kwiatkowski surreptitiously
stole syringes containing narcotic medications, including fentanyl, that were intended for
hospital patients The stolen narcotic-filled syringes and were replaced With saline-filled
syringes that Kwiatkowski had previously used to inject himself, and which were
contaminated with his blood.

Kwiatkowski engaged in this pattern of illegal drug diversion and use over a period of
years, at numerous hospitals across the country, even though he knew he Was infected
with Hepatitis-C.

Law enforcement officials have described Kwiatkowski as a “serial infector” who acted
with “extreme indifference” for public safetyv

As a nationally registered traveling technician, Kwiatkowski worked at an estimated
nineteen hospitals in eight states between 2003 and 2012, where he potentially could have

infected thousands of patients with Hepatitis»C.

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Between 2003 and 2007, Kwiatkowski was terminated and/or resigned from four
l\/lichigan health facilities Three of these terminations and/or resignations were related
to investigations about or findings of controlled drug use.

ln 2004, Kwiatkowski resigned from St. Joseph Mercy Health System after he was
questioned about a toilet that was overflowing with syringes. He admitted a co-worker
was leaving syringes of Dilaudid for him in empty rooms which he was using, and he
tested positive for controlled substances

Thereafter, also in 2004, Kwiatkowski was terminated from William Beaumont Hospital
for “gross misconduct.”

In 2006, Kwiatkowski resigned from the University of Michigan Hospital after being
suspended in the midst of an investigation related to missing controlled substances,
including fentanyl. During the investigation l\/lr. Kwiatkowski was questioned in
connection with three incidents of vials or syringes of Fentanyl being Stolen on
Septembcr 2l, October lO, and December 7, 2006. ln 2007, Kwiatkowski resigned from
Oakwood Annapolis Hospital after he was suspended pending an investigation regarding
potential controlled substance use.

Between 2007 and 2011, Kwiatkowski accepted positions at health facilities in New
York, Pennsylvania, l\/laryland, Arizona, Kansas, Georgia, and New Hampshire.

ln 2008, Kwiatkowski was terminated from the University of Pittsburgh l\/ledical Center
Presbyterian Shadyside (hereinafter referred to as “UPMC”) after another employee
witnessed Kwiatkowski remove a syringe of fentanyl from an operating room. During a
search, three (3) empty Fentanyl syringes were found on David Kwiatkowski and an

empty morphine syringe was found in his locker.

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David Kwiatkowski was seen in the Emergency Department where a comprehensive drug
screen was ordered which confirmed the presence of Fentanyl and Opiates. Subsequent
testing of a syringe from the procedure room where Kwiatkowski was observed stealing a
syringe confirmed that Kwiatkowski had replaced the syringe of fentanyl With a syringe
containing another fluid.

Less than two weeks after being terminated by UPMC, Kwiatkowski accepted a position
at the Baltimore Veterans Affairs l\/ledical Center (hereinafter referred to as “VA Medical
Center”).

To date, in addition to the thirty-three Exeter Hospital patients and additional individuals
who have tested positive for Hepatitis~C and been linked to Kwiatkowski, fourteen
patients in four states reportedly have been diagnosed with the same Hepatitis C strain
One patient at UPMC has been diagnosed with a matching strain Additionally, one
patient at the VA l\/ledical Center has been diagnosed with Hepatitis C linked to
Kwiatkowski. Six patients at The Johns Hopkins Hospital in Baltimore, where
Kwiatkowski worked in 2009 and 2010, have also been diagnosed with the relevant strain
of Hepatitis C. Six patients who Were treated at Hays l\/ledical Center in Kansas, where
Kwiatkowski worked in 2010 have also tested positive for Hepatitis-C linked to
Kwiatkowski.

l\/Iedical records obtained by the U.S. Attorney’s Office as part of the criminal
investigation indicate that Kwiatkowski tested positive for Hepatitis-C in June of 2010.
Despite knowing he had Hepatitis~C, Kwiatkowski continued to expose hospital patients
to the potential risk of contracting the virus for years before Triage recommended him for

employment at Exeter Hospital.

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Kwiatkowski has a history of telling false stories about himself to employees at the
hospitals where he has worked For example, Kwiatkowski frequently claimed to have
played baseball at the University of l\/lichigan and that his fiancee died under tragic
circumstances A supervisor from a hospital in another state indicated that Kwiatkowski
was terminated for falsifying timesheet information

l\/lultiple witnesses have stated that Kwiatkowski told them he suffered from cancer,
which cannot be corroborated by any medical documentation When police interviewed
him in July cf 2012, he admitted he had “fabricated his life.” When asked how patients
at Exeter Hospital may have contracted Hepatitis-C, Kwiatkowski told the police, “You
know, I’m more concerned about myself, my own well-being I’ve learned here to just
Worry about myself, and that’s all l really care about now.”

On 14 Augnrst 2013 Kwiatkowski appeared in the United States District Court for the
District of New Hampshire and, as part of a plea agreement reached with the United
States Attorneys for the Districts of New Hampshire, Kansas, Maryland and the l\/Iiddle
District of Georgia, Kwiatkowski admitted to his criminal conduct and pleaded guilty to
all 14 counts of the lndictment, as well as one count of tampering with a consumer
product and one count of obtaining controlled substances by fraud for events occurring in
the District of Kansas. He is presently awaiting sentencing

At all times relevant to this litigation, Kwiatkowski had a duty to exercise reasonable care
to prevent the patients with whom he came into contact, including the patients of Exeter
Hospital, from contracting the Hepatitis-C virus, of which he was a carrier.

ln total disregard of the aforesaid duty, Kwiatkowski negligently infected thirty-two (32)

Exeter Hospital patients with the Hepatitis-C virus.

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Prior to the time that Kwiatkowski came to work at Exeter Hospital, he had been fired
from at least four different hospitals..

Although UPl\/IC immediately terminated him in 2008, Kwiatkowski remained employed
as a traveling cardiac catheterization technician, thereby foreseeably placing at risk the
patients at any hospital in the country to which Kwiatkowski might travel, including
those at Exeter Hospital.

Defendant Maxim is a temporary hospital staffing agency and was responsible for placing
Kwiatkowski at UPl\/IC.

l\/laxirn was notified of the UPMC termination, but failed to report Kwiatkowski to any
law enforcement agency or licensing authority

Recognizing the obvious importance of making such a report, Maxim created and back-
dated an e-mail message suggesting that it had reported Kwiatkowski’s conduct to the
l\/laryland Board of Physicians in 2009.

l\/laxim has subsequently admitted (through counsel) to the Maryland Attorney General’s
Office that the e-mail message was a fabrication

Maxim’s inaction enabled Kwiatkowski to remain employed as a traveling cardiac
catheterization technician, thereby foreseeany placing at risk the patients at any hospital
in the countrth which Kwiatkowski might travel, including those at Exeter Hospital.
Despite his recent termination from UPMC, Maxim placed l\/lr, Kwiatkowski in a
position at Southern l\/laryland Hospital in November 2008. He was terminated in
February 2009 for falsifying and forging his supervisor’s signature on his time records

In July 2009, the staffing agency, l\/ledical Solutions, placed l\/lr. Kwiatkowski in a

position at Johns Hopkins Hospital. After Johns Hopkins extended an offer of permanent

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employment to l\/Ir. Kwiatkowski the offer was revoked shortly after two incidents in
which Vials of Fentanyl went missing from the department where Kwiatkowski worked.
ln l\/larch of 2010, while working at the Arizona Heart Hospital in Phoenix, Arizona,
Kwiatkowski was reportedly found semi-conscious in a restroom stall. The co~employee
who discovered him observed a fentanyl syringe floating in the toilet.

Kwiatkowski admitted to an Arizona Heart Hospital employee that he had taken a syringe
filled with fentanyl and injected himself

A drug test was administered and detected the presence of marijuana and cocaine in
Kwiatkowski’s system. “l`he drug test administered did not specifically screen for
fentanyl.

After failing the drug test, Kwiatkowski was terminated immediately by the hospital.

The temporary medical staffing agency that had placed Kwiatkowski at Arizona Heart
Hospital, SpringBoard, lnc., also terminated Kwiatkowski’s employment, and notified
defendant ARRT of the circumstances of Kwiatkowski’s termination

Although ARRT had actual notice of the Arizona Heart Hospital terrnination, ARRT took
no meaningful action to investigate the incident and/or revoke Kwiatkowski’s national
certification

As the operator of a national registry of radiological technicians AR.RT had the ability to
investigate, suspend or revoke Kwiatkowski’s national certification

ARRT did not act on Arizona Heart Hospital’s report of Kwiatkowski’s misconduct, but

instead, continued to maintain his ARRT certification

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ARRT’s inaction enabled Kwiatkowski to remain employed as a traveling cardiac
catheterization technician, thereby foreseeably placing at risk the patients at any hospital
in the country to which Kwiatkowski might travel, including those at Exeter Hospital,
The staffing agency, Medical Solutions, placed l\/lr. Kwiatkowski at Hays l\/ledical Center
in Kansas in May, 2010. He was terminated on September 22, 2010 after being caught
falsifying his time sheets and forging the signature of his supervisor,

Like hundreds of health care facilities around the country, Exeter Hospital relies on third-
party staffing agencies to identify and screen potential medical personnel to fill short-
term staffing vacancies

Exeter Hospital is a member of defendant AHSA, which contracts with various agencies
to provide temporary staffing services to its member hospitals

Exeter Hospital’s reliance on AHSA to contract with competent staffing agencies, and on
Triage to properly screen Kwiatkowski was consistent with national standards for proper
hospital operations and was entirely reasonable

Prior to Kwiatkowski’s arrival at Exeter Hospital, AHSA had entered into a staffing
agreement with defendant Triage for Triage to provide temporary staffing to its member
hospitals

At all times relevant to this litigation, AHSA owed a duty to Exeter Hospital to exercise
reasonable care to monitor Triage, to ensure that Triage and their staff remained in
compliance with the terms of the staffing agreement, and to ensure that Triage and their
staff conformed to internal and third-party quality assurance standards to which Triage

claimed it adhered

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ln total disregard of its duty, AHSA failed to properly monitor the performance and
compliance ofTriage.

ASHA’s conduct was in violation of RSA Chapter 358-A, the New Hampshire Consumer
Protection Act, in that ASHA represented that its services were of a particular standard,
quality and grade, when in fact, they were of another. See RSA 358-A:2.

ASHA’s conduct was in violation of its common law implied duty to act in good faith
throughout the performance of its contractual obligations to Exeter Hospital.

AHSA’s conduct foreseeably placed at risk the patients at any hospital in the country to
which Kwiatkowski might travel, including those at Exeter Hospital.

The aforesaid breach of duty by AHSA resulted in Kwiatkowski being placed at Exeter
Hospital, notwithstanding the fact that he was addicted to opioids; was infected with
Hepatitis-C; and had resigned from or been terminated by at least four prior hospital
positions as a direct result of his in-hospital drug-related misconduct

Pursuant to the AHSA staffing agreement, Kwiatkowski was referred to Exeter Hospital
by Triage, and began work on or about 11 April 2011. He became a permanent employee
of Exeter Hospital on 17 October 2011.

Triage advertises itself as “a company you can trust” with “over 25 years of staffing
experience.” Triage represents that its “goal is to provide your facility with a healthcare
professional whose personality and technical abilities match the needs of your
department Our healthcare professionals carry all the necessary licensures, insurance
and certifications necessary, and will meet any and all hospital and JCAHO protocols.”
Triage further represents that it “provides recruiting, screening, verification and

assessment for “best fit” personalities [Triage] adheres to a strict process of

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interviewing, establishing credibility, and assuring competency before placing [its]
healthcare professionals Each Triage employee is drug tested and has a background
check completed to give [Triage’s clients] complete peace of mind.”

Triage had obtained the Joint Commission’s Health Care Staffing Certification. This
certification “assures customers, staff and other stakeholders that [a] staffing agency is
fully meeting the health care quality and safety needs for which [a staffing agency] is
responsible.”

Triage failed to meet its contractual obligations to the AHSA; failed to meet its own
published standards; failed to meet the standards imposed by the JCAHO; and failed to
meet the guarantees that it provided Exeter Hospital by recommending Kwiatkowski for a
temporary staff position in Exeter Hospital’s Cardiac Cath Lab.

Triage’s conduct was in violation of RSA Chapter 358-A, the New Hampshire Consumer
Protection Act, in that Triage represented that its services were of a particular standard,
quality and grade, when in fact, they were of another. See RSA 358-A:2.

Triage’s conduct was in violation of its common law implied duty to act in good faith
throughout the performance of its contractual obligations to Exeter Hospital.

Triage’s conduct foreseeably placed at risk the patients at any hospital in the country to
which Kwiatkowski might travel, including those at Exeter Hospital.

The aforesaid breaches by Triage resulted in Kwiatkowski being placed at Exeter
Hospital, notwithstanding the fact that he was addicted to opioids; was infected with
Hepatitis-C; and had resigned from or been terminated from at least four prior hospital

positions as a direct result of his drug-related misconduct

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Prior to the time that Kwiatkowski arrived at Exeter Hospital, each of the defendants
knew, or through the exercise of reasonable care, should have known, that Kwiatkowski
was unfit for continued employment as a traveling cardiac catheterization technician
Prior to the time that Kwiatkowski arrived at Exeter Hospital, each of the defendants
knew, or through the exercise of reasonable care, should have known, that allowing
Kwiatkowski to continue working as a traveling cardiac catheterization technician would
foreseeably place at extreme risk any patient who came under his care.

Each of the defendants owed a duty to exercise reasonable care to properly screen, test,
monitor and supervise Kwiatkowski in his capacity as a traveling cardiac catheterization
technician

Each of the defendants owed a duty to exercise reasonable care to fully investigate and
report to the appropriate authorities Kwiatkowski’s illegal drug diversion and use.

Each of the defendants owed a duty to immediately and permanently prevent
Kwiatkowski from continuing his employment as a traveling cardiac catheterization
technician

ln complete disregard of the aforesaid duties, the defendants failed and neglected to
discharge their duty to properly screen, test, monitor and supervise Kwiatkowski

ln complete disregard of the aforesaid duties, the defendants failed and neglected to
discharge their duty to fully investigate and report to the appropriate authorities
Kwiatkowski’s illegal drug diversion and use.~

ln complete disregard of the aforesaid duties, the defendants failed and neglected to
discharge their duty to immediately and permanently prevent Kwiatkowski from

continuing his employment as a traveling cardiac catheterization technician

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Given the itinerant and temporary nature of Kwiatkowski’s employment in the medical
field, a fact that was known to each defendant, the defendants’ failure to discharge the
aforesaid duties foreseeably placed at great risk any patient with whom Kwiatkowski
might come into contact, including patients of Exeter Hospital.

As a direct and proximate result of the aforesaid breaches of duty by each of the
defendants, Exeter Hospital and its patients were foreseeably harmed within the State of
New Hampshire.

COUNTI ~ STATUTORY CONTRIBUTION

PATIENT A1 SETTLEMENT

The allegations set forth in Paragraphs 1 through 90 are re-alleged for the purpose of this
count.

One of the patients who tested positive for Hepatitis-C was Patient A.

As a result of Patient A’s Hepatitis-C infection on or about 28 September 2012, Patient
A sent a demand letter to Exeter Hospital (and others) seeking monetary damages

After engaging in certain discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 29 November 2012 for a confidential
amount

The settlement was paid on or about 1 l\/Iarch 2013.

ln connection with the settlement, the Administrator of the Estate of Patient A executed a
general release of all claims which discharged the common liability of Exeter Hospital,
Kwiatkowski, l\/laxim, ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

 

l To ensure patient confidentiality and privacy, pseudonyms have been used for any patients whose claims were
settled before a lawsuit disclosing their identities was filed.

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l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter I-lospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action See Harkeem v. Aa’ams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT II - C()NTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
PATIENT A SETTLEMENT
The allegations set forth in Paragraphs l through 1104 are re-alleged for the purpose of

this count.

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA

members, including Exeter Hospital,

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Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement, Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates officers directors, and
agents harmless from and against all damages claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Patient A claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT III - STATUTORY CONTRIBUTION
RONALD DUFRESNE SETTLEMENT

The allegations set forth in Paragraphs l through 113 are re-alleged for the purpose of
this count.

One of the patients who tested positive for Hepatitis-C was Ronald DuFresne.

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As a result of his Hepatitis-C infection, on or about 26 June 2012, Ronald DuFresne filed
a civil action against Exeter Hospital (and others) seeking an award of monetary
damages

After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 19 December 2012 for a confidential
amount

The settlement was paid on or about 7 January 2013.

ln connection with the settlement, Ronald DuFresne executed a general release of all
claims which discharged the common liability of Exeter Hospital, Kwiatkowski, l\/laxim,
ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARR'l` did not contribute to the settlementl

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest

and taxable costs

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ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action See Harkeem v. Aa’ams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT IV - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
RONALD DUFRESNE SETTLEMENT
The allegations set forth in Paragraphs l through 127 are re-alleged for the purpose of

this count

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement, Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates officers, directors, and
agents harmless from and against all damages claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition

of the Ronald Dufresne claim.

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Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action See Harkeem v. Adczms, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT V - STATUTORY CONTRIBUTION
PATIENT B SETTLEMENT

The allegations set forth in Paragraphs 1 through 136 are re-alleged for the purpose of
this count.

One of the patients who tested positive for Hepatitis-C was Patient B.

As a result of Patient B’s Hepatitis-C infection, on or about 14 December 2012, Patient B
sent a demand letter to Exeter Hospital (and others) seeking monetary damages

After engaging in certain discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 13 February 2013 for a confidential
amount

The settlement was paid on or about 15 l\/larch 2013,

ln connection with the settlement7 Patient B, and Patient B’s spouse executed a general
release of all claims which discharged the common liability of Exeter Hospital,
Kwiatkowski, l\/laxirn, ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

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AHSA did not contribute to the settlement

Triage did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Harnpshire Superior Court, plus interest
and taxable costs

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action See Harkeem v. Adams, 117 N.l~l, 687, 377
A.2d 617 (1977).

COUNT VI - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
PATIENT B SETTLEMENT
The allegations set forth in Paragraphs 1 through 152 are re-alleged for the purpose of

this count.

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA

members, including Exeter l-lospital.

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Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreement
Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement
Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates officers directors and
agents harmless from and against all damages claims penalties interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.
Exeter Hospital is entitled to contractual indemnification for all settlement costs defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Patient B claim..
Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs
ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT VII -STATUTORY CONTRIBUTION

ALDEN SANBORN SETTLEMENT
The allegations set forth in Paragraphs 1 through 161 are re-alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was Alden Sanborn,

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As a result of his Hepatitis-C infection, on or about 7 August 2012, Alden Sanborn filed a
civil action against Exeter Hospital (and others) seeking an award of monetary damages
After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation the case was settled on 13 l\/Iarch 2013 for a confidential
amount

The settlement was paid on or about 5 April 2013.

In connection with the settlement, Alden Sanborn executed a general release of all claims
which discharged the common liability of Exeter Hospital, Kwiatkowski, Maxim, ARRT,
AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

Triage did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is

commensurate with that apportionment

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Exeter I-lospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.
ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action See Harkeem v. Adams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT VIII ~ CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
ALDEN SANBORN SETTLEMENT
The allegations set forth in Paragraphs l through 177 are re-alleged for the purpose of

this count.

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staff'ing Agreement”.
Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non'physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement, Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising

from services provided by Triage.

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Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Alden Sanborn claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action See Harkeem v. Adams, 117 N,H. 687,
377 A.Zd 617 (1977).

COUNT IX ~STATUTORY CONTRIBUTION
PATIENT C SETTLEMENT
The allegations set forth in Paragraphs 1 through 186 are re~alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis~C was Patient C.

As a result of Patient C’s Hepatitis~C infection, on or about 13 February 2013, Patient C
sent a demand letter to Exeter Hospital (and others) seeking monetary damages

After engaging in certain discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 18 April 2013 for a confidential
amount

The settlement was paid on or about 21 June 2013.

ln connection with the settlement Patient C and Patient C’s spouse executed a general
release of all claims which discharged the common liability of Exeter Hospital,
Kwiatkowski, l\/laxim, AR,RT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

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l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

Triage did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
Statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Aa'ams, 117 N,H. 687, 377
A.2d 617 (1977).

COUNT X - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
PATIENT C SETTLEMENT
The allegations set forth in Paragraphs 1 through 202 are re-alleged for the purpose of

this count
Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and

Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.

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Pursuant to the AHSA staffing agreement Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Patient C claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Hcirkeem v. Adams, 117 N.H, 687,

377 A.z<i 617 (1977).

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COUNT XI - STATUTORY CONTRIBUTION

WILLIAM AND LINDA ROONEY SETTLEMENT
The allegations set forth in Paragraphs l through 211 are re-alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was William Rooney.

As a result of his Hepatitis-C infection, on or about 30 luly 2012, Williarn Rooney, and
his wife, Linda Rooney, filed a civil action against Exeter Hospital (and others) seeking
an award of monetary damages

After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 22 August 2013 for a confidential
amount

The settlement was paid on or about 23 September 2013.

ln connection with the settlement William and Linda Rooney executed a general release
of all claims which discharged the common liability of Exeter Hospital, Kwiatkowski,
l\/Iaxim, ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis~C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the

proportionate fault of the non-contributing defendants established, and to be awarded

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statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Adams, 117 N.H, 687, 377
A.2d 617 (1977).

COUNT XII ~ CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
WILLIAM AND LINDA ROONEY SETTLEMENT
The allegations set forth in Paragraphs 1 through 226 are re~alleged for the purpose of

this count

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter l-lospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and

agents harmless from and against all damages, claims, penalties, interest or other losses

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arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the William and Linda Rooney claims.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT XIII -STATUTORY CONTRIBUTION
D()UGLAS BARRINGER AND NORMA HOWCROFT SETTLEMENT
The allegations set forth in Paragraphs 1 through 235 are re~alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was Douglas Barringer.

As a result of his Hepatitis-C infection, on or about 12 July 2013, Douglas Barringer and
Norma Howcroft, his wife, filed a civil action against Exeter Hospital (and others)
seeking an award of monetary damages

After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 23 August 2013 for a confidential
amount

The settlement was paid on or about 23 September 2013.

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ln connection with the settlement Douglas Barringer and Norma Howcroft executed a
general release of all claims which discharged the common liability of Exeter Hospital,
Kwiatkowski, l\/laxim, ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis~C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Aa’ams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT XIV - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
DOUGLAS BARRINGER AND NGRMA HOWCROFT SETTLEMENT
The allegations set forth in Paragraphs l through 250 are re-alleged for the purpose of

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Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non~physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Douglas Barringer and Norma Howcroft claims.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,

377 A.zd 617 (i977).

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COUNT XV - STATUTORY CONTRIBUTION

PATIENT D SETTLEMENT
The allegations set forth in Paragraphs 1 through 259 are re-alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was Patient D.

As a result of Patient D’s Hepatitis~C infection, on or about 27 August 2013, Patient D
sent a demand letter to Exeter Hospital (and others) seeking monetary damages

After engaging in certain discovery, the parties agreed to mediate,

As a result of the mediation, the case was settled on 3 September 2013 for a confidential
amount

The settlement was paid on or about 30 September 2013.

ln connection with the settlement Patient D and Patient D’s spouse executed a general
release of all claims which discharged the common liability of ,Exeter Hospital,
Kwiatkowski l\/laxim, ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the

proportionate fault of the non-contributing defendants established, and to be awarded

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statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
this prosecution of this contribution action. See Harkeem v. Adams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT XVI - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
PATIENT D SETTLEMENT
The allegations set forth in Paragraphs l through 274 are re'alleged for the purpose of

this count

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and

agents harmless from and against all damages, claims, penalties, interest or other losses

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arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Patient D claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT XVII - STATUTORY CONTRIBUTION
KATHLEEN ROHWER SETTLEMENT
The allegations set forth in Paragraphs l through 283 are re-alleged for the purpose of

this count

One of the patients who tested positive for I-lepatitis-C was Kathleen Rohwer.

As a result of her Hepatitis-C infection, on or about 14 June 2012, Kathleen Rohwer filed
a civil action against Exeter Hospital (and others) seeking an award of monetary
damages

After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 4 September 2013 for a confidential
amount

The settlement was paid on or about 23 September 2013.

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ln connection with the settlement Kathleen Rohwer executed a general release of all
claims which discharged the common liability of Exeter Hospital, Kwiatkowski l\/laxim,
ARRT, AHSA and Triage.

Kwiatkowski did not contribute to the settlement

l\/[axim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis~C outbreak.

Pursuant to RSA 507:7 (e), (f`), and (g), Exeter hospital is entitled to have the
proportionate fault of the non~contributing defendants established, and to be awarded
statutory contribution from each non~contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Adams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT XVIII - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
KATHLEEN ROHWER SETTLEMENT
The allegations set forth in Paragraphs 1 through 298 are re-alleged for the purpose of

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Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreemen ”.
Pursuant to the AHSA staffing agreement, Triage was designated as a °‘Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement, Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage,

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Kathleen Rohwer claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred`in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,

377 A.2<i 617 (1977).

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COUNT XIX - STATUTORY CONTRIBUTION
RONAL SMALL SETTLEMENT
The allegations set forth in Paragraphs 1 through 307 are re-alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis~C was Ronal Small.

As a result of his Hepatitis-C infection, on or about 11 July 2012, Ronal Small filed a
civil action against Exeter Hospital (and others) seeking an award of monetary damages
After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 19 April 2013 for a confidential
amount

The settlement was paid on or about 3 June 2013.

In connection with the settlement, Ronal Small executed a general release of all claims
which discharged the common liability of Exeter Hospital, Kwiatkowski, Maxim, ARRT,
AHSA and Triagei

Kwiatkowski did not contribute to the settlement

l\/Iaxim did not contribute to the settlement

ARRT did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is

commensurate with that apportionment

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Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.
In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Adams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT XX ~» CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
RONAL SMALL SETTLEMENT
The allegations set forth in Paragraphs 1 through 321 are re-alleged for the purpose of

this count.

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non#physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreementl

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement, Triage is obligated to 1
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising

from services provided by Triage.

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Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Ronal Small claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT XXI - STATUTORY CONTRIBUTION
BRUCE MOLLEUR AND RUTH MOLLEUR SETTLEMENT
The allegations set forth in Paragraphs l through 330 are re-alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was Bruce Molleur.

As a result of his Hepatitis-C infection, on or about 13 November 2012, Bruce Molleur
and his wife, Ruth Molleur, filed a civil action against Exeter Hospital (and others)
Seeking an award of monetary damages

After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 2 October 2013 for a confidential
amount

The settlement was paid on or about 15 October 2013.

In connection with the settlement Bruce l\/lolleur, and his wife, Rut'h Molleur, executed a
general release of all claims which discharged the common liability of Exeter Hospital,

Kwiatkowski Maxim, ARRT, AHSA and Triage.

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Kwiatkowski did not contribute to the settlement

Maxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis~C outbreak.

Pursuant to RSA 507:7 (e), (f`), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Adams, 117 N,H. 687, 377
A.2d 617 (1977).

COUNT XXII - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
BRUCE MGLLEUR AND RUTH MOLLEUR SETTLEMENT
The allegations set forth in Paragraphs 1 through 345 are re~alleged for the purpose of

this count
Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and

Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.

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Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non~physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Bruce Molleur and Ruth Molleur claims.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs.

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,
377 A.Zd 617 (1977).

COUNT XXIII -STATUTORY CONTRIBUTION
PATIENT E SETTLEMENT

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The allegations set forth in Paragraphs 1 through 354 are re-alleged for the purpose of
this count

One of the patients who tested positive for Hepatitis~C was Patient E.

As a result of Patient E’s Hepatitis-C infection, representatives of Patient E contacted
representatives of Exeter Hospital (and others) seeking monetary damages

After engaging in certain negotiations, the case was settled on 4 November 2013 for a
confidential amount

In connection with the settlement representatives for Patient E have agreed to execute a
general release of all claims which will discharge the common liability of Exeter
Hospital, Kwiatkowski, Maxirn, ARRT, AHSA and Triage.

The settlement will be paid upon receipt of the agreed-upon general release of all claims.
Kwiatkowski did not contribute to the settlement

Maxim did not contribute to the settlement

ARRT did not contribute to the settlement

AHSA did not contribute to the settlement

Triage did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non-contributing defendants established, and to be awarded
statutory contribution from each non-contributing defendant in an amount that is

commensurate with that apportionment

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Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.
ln addition, Exeter Hospital Seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v, Aa’ams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT XXIV - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
PATIENT E SETTLEMENT
The allegations set forth in Paragraphs 1 through 369 are re-alleged for the purpose of

this count

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest, or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising

from services provided by Triage.

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Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Patient E claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977).

COUNT XXV -STATUTORY CONTRIBUTION
PATIENT F SETTLEMENT l
The allegations set forth in Paragraphs 1 through 378 are re~alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was Patient F.

As a result of Patient F’s Hepatitis-C infection, on or about 23 July 2013, Patient F sent a
demand letter to Exeter Hospital (and others) seeking monetary damages

After engaging in certain discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 7 November 2013 for a confidential
amount

ln connection with the settlement Patient F has agreed to execute a general release of all
claims which will discharge the common liability of Exeter Hospital, Kwiatkowski,
l\/Iaxim, ARRT, AHSA and Triage.

The settlement will be paid upon receipt of the agreed~upon general release of all claims

Kwiatkowski did not contribute to the settlement

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Maxim did not contribute to the settlement

ARRT did not contribute to the settlement

Triage did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis-C outbreak.

Pursuant to RSA 507:7 (e), (f), and (g), Exeter hospital is entitled to have the
proportionate fault of the non~contributing defendants established, and to be awarded
statutory contribution from each non*contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New I-Iampshire Superior Court, plus interest
and taxable costs

ln addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Harkeem v. Adams, 117 N.H. 687, 377
A.2d 617 (1977).

COUNT XXVI ~ CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
PATIENT F SETTLEMENT
The allegations set forth in Paragraphs 1 through 393 are re-alleged for the purpose of

this count
Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and

Triage had entered into a “Non Physician Standard Agency Staffing Agreement”.

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Pursuant to the AHSA staffing agreement Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AI-ISA
members, including Exeter Hospital.

Under the terms of the AHSA staffing agreement Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and
agents harmless from and against all damages, claims, penalties, interest or other losses
arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage.

Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the Patient F claim.

Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court, plus interest and
taxable costs

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action. See Harkeem v. Adams, 117 N.H. 687,

377 A.zd 617 (1977).

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COUNT XXVII ~STATUTORY CONTRIBUTION
MARIO SECINARO SETTLEMENT
The allegations set forth in Paragraphs 1 through 402 are re~alleged for the purpose of

this count

One of the patients who tested positive for Hepatitis-C was l\/lario Secinaro.

As a result of his Hepatitis-C infection, on or about 17 July 2012, l\/lario Secinaro filed a
civil action against Exeter Hospital (and others) seeking an award of monetary damages
After engaging in certain pretrial discovery, the parties agreed to mediate.

As a result of the mediation, the case was settled on 7 November_2013 for a confidential
amount

ln connection with the settlement l\/lario Secinaro has agreed to execute a general release
of all claims which Will discharge the common liability of Exeter Hospital, Kwiatkowski,
Maxim, ARRT, AHSA and Triage.

The settlement will be paid upon receipt of the agreed~upon general release of all claims
Kwiatkowski did not contribute to the settlement

l\/laxim did not contribute to the settlement

ARRT did not contribute to the settlement

Triage did not contribute to the settlement

The amount paid by Exeter Hospital to settle the case and discharge the common liability
of the non-contributing defendants was disproportionate to Exeter Hospital’s actual
responsibility for the Hepatitis~C outbreak.

Pursuant to RSA 507:7 (e), (D, and (g), Exeter hospital is entitled to have the

proportionate fault of the non-contributing defendants established, and to be awarded

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statutory contribution from each non~contributing defendant in an amount that is
commensurate with that apportionment

Exeter Hospital seeks an award of statutory contribution in an amount that is in excess of
the minimum jurisdictional limits of the New Hampshire Superior Court, plus interest
and taxable costs.

In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this contribution action. See Hm'keem v. Adams, 117 N.H. 687, 377
A.Zd 617 (1977).

COUNT XXVIII - CONTRACTUAL INDEMNIFICATION (TRIAGE ONLY)
MARIO SECINARO SETTLEMENT
The allegations set forth in Paragraphs l through 417 are re-alleged for the purpose of

this count.

Prior to the time that Kwiatkowski was referred to Exeter Hospital by Triage, AHSA and
Triage had entered into a °‘Non Physician Standard Agency Staffing Agreement”.
Pursuant to the AHSA staffing agreement, Triage was designated as a “Selected Service
Provider”, and agreed to provide temporary non-physician medical staff to AHSA
members, including Exeter Hospital

Under the terms of the AHSA staffing agreement, Exeter Hospital is third party
beneficiary of that agreement

Kwiatkowski was referred to Exeter Hospital by Triage pursuant to the terms of the
AHSA staffing agreement

Pursuant to the express terms of the AHSA staffing agreement, Triage is obligated to
indemnify, defend, and hold Exeter Hospital and its affiliates, officers, directors, and

agents harmless from and against all damages, claims, penalties, interest, or other losses

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arising from a breach of the staffing agreement by Triage (including its staff) or arising
from services provided by Triage,
Exeter Hospital is entitled to contractual indemnification for all settlement costs, defense
costs and litigation expenses incurred in connection with the defense and final disposition
of the l\/iario Secinaro claim.
Exeter Hospital seeks indemnification from Triage in an amount that is in excess of the
minimum jurisdictional limits of the New Hampshire Superior Court7 plus interest and
taxable costs.
In addition, Exeter Hospital seeks an award of all attorneys’ fees reasonably incurred in
the prosecution of this indemnification action See Harkeem v. Adams, 117 N.H. 687,
377 A.2d 617 (1977),

JURY TRIAL DEMANDED
A jury trial is demanded as to all counts.

Respectfully submitted,

Exeter Hospital7 Inc.
By its attorneys,

Devine, l\/lillimet & Branch
Professional Association

Dai@a; is November 2013 \Q/§B/\

 

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ROCKINGHAM, SS SUPERIOR COURT

STATE OF NEW HAMPSHIRE

Exeter Hospital, Inc.
v.

David Kwiatkowski
Maxim Healthcare Services, Inc.
The American Registry of Radiological Technologists
American HealthCare Services Association, LLC
Triage Staffing, Inc.

Docket No. 218~2013~€\/'~01259
ACCEPTANCE OF SERVICE OF PROCESS
I, Mark A. Darling, Esquire, of Litchfield Cavo, LLP, as duly authorized counsel
for The Arnerican Registry of Radiolo_gic Technologists, do hereby accept service of the
Civil Complaint in the above-captioned civil matter, and hereby Waive any defense as to
the sufficiency of the service of that process on the defendant No other claim or defense

of any nature whatsoever is'waived.

Dated: ig`l in 15 / @©

Mark A. Darling, Esquire t \
NH Bar No. 4803

Litchfield Cavo, LLP

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Lynnfield, MA 01940~2682

(781) 309-1500
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STATE OF NEW HAMPSHIRE

ROCKINGHAl\/l, SS SUPERIOR COURT
Exeter Hospital, lnc,
v.

David Kwiatkowski
Maxim Healthcare Services, lnc.
The American Registry of Radiological Technologists
American HealthCare Services Association, LLC
Triage Staffing, lnc.

Docket No. 218~2013-€\/~01259

ACCEPTANCE OF SERVICE OF PROC`ESS

I, Ralph Suozzo, Esquire, of Morrison Mahoney, LLP, as duly authorized counsel for
Triage Staffing, lnc., do hereby accept service of the Civil Complaint in the above-captioned
civil matter, and hereby waive any defense as to the sufficiency of the service of that pleading on

the defendant No other claims or defenses of any nature whatsoever are waived

 

Dated: /Z[Q fbi

Ralph §uo/zzo, E§quire

NH Bar No. 12946

Morrison Mahoney, LLP

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l\/lanchester, NH 03101

(603) 622~3400
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STATE OF NEW HAMPSHIRE

ROCKINGHAM, SS SUP.ERIOR COURT
Exeter Hospital, lnc.
v.

David Kwiatkowski
Maxim Healthcare Services, liic.
'l`he Anierican Registi'y of Radiological Technologists
Ainerican HealthCare Services Associaticn, LLC
Triage Staffing, Inc.

Docket No. 218-2013-€\/~01259

ACCEPTANCE OF SERVlCE OF PROCESS

l, Peter A. l\/leyer, Esquire, of Sulloway & Hollis, PLLC, as duly authorized counsel for
Maxim Healtlicare Services, lnc., do hereby accept service of the Civil Complaint in the above-
captioned civil matter, and hereby waive any defense as to the sufficiency of the service of that

pleading on the defendant No other claims or defenses of any nature whatsoever are waived

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Dated: _§_§j:i~§ 53 Q&»:izwji 1 i/§Nid;~‘»i»t.,/
Peter A. Meyer, Esqiiire
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STATE OF NEW HAMPSHIRE

ROCKINGHAl\/I, SS SUPERIOR COURT
Exeter Hospital, Inc.
v.

David Kwiatkowski
Maxim Healthcare Services, Inc.
The American Registry of Radiological Technologists
American HealthCare Services Association, LLC
Triage Staffing, Inc.

Docket No. 218~2013-€'\/-01259

ACCEPTANCE OF SERVICE OF PROCESS

1, Robert G. Whaland, Esquire, of l\/chonough, O’Shaughnessy, Whaland & l\/ieagher,
PLLC, as duly authorized counsel for American HealthCare Services Association, LLC, do
hereby accept service of the Civil Complaint in the above-captioned civil matter, and hereby
waive any defense as to the sufficiency of the service of that pleading on the defendant No

other claims or defenses of any nature whatsoever are waived

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